                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

                   CRIMINAL MINUTES - CHANGE OF PLEA

UNITED STATES OF AMERICA                           Case Number: 22-05035-01-CR-SW-SRB
v.

AMBER DAWN WATERMAN                                Date: July 30, 2024 at 11:40 a.m./1:00 p.m.


Honorable Stephen R. Bough presiding at Springfield, Missouri

Time commenced: 11:30 a.m.                         Time terminated: 1:15 p.m.

Appearances:

       Government: Stephanie Wan, AUSA; Jim Kelleher, AUSA
       Defendant:  Kimberly Sharkey, FPD; Paul Duchscherer, FPD

PROCEEDINGS:

11:40 a.m. Hearing is continued to 1:00 p.m.
1:00 p.m. Plea proceedings:

Defendant appears to change her plea from not guilty to guilty to Count One and Count Two of
the Superseding Indictment.
X      Defendant sworn.
X      Court questions defendant regarding her physical and mental condition. Defendant
       advised of right to trial by jury, maximum and minimum terms of incarceration and fine
       ranges.
X      Plea is accepted by the Court.
X      Court orders Presentence Investigation (PSI).
X      Defendant remanded to custody.

REMARKS: Sentencing is set for October 15, 2024 at 11:00 a.m.

Court Reporter: Jeannine Rankin                          Karen Siegert, Courtroom Deputy




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